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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                            Judge Daniel D. Domenico

        Civil Action No. 1:20-cv-01194-DDD-MDB

        HAMKIM INC., d/b/a Vista Inn,

                Plaintiff,
        v.

        AMGUARD INSURANCE COMPANY, a/k/a Berkshire Hathaway
        Insurance Companies, a/k/a Berkshire Hathaway Inc.,

                Defendant.


                ORDER DENYING PLAINTIFF’S PARTIAL MOTION
                    FOR JUDGMENT ON THE PLEADINGS


             Plaintiff HamKim Inc. moves, pursuant to Federal Rule of Civil Pro-
        cedure 12(c), for judgment on the pleadings as to certain of Defendant
        AmGUARD Insurance Company’s defenses, or in the alternative, to
        strike those defenses pursuant to Rule 12(f). (Doc. 32.) For the following
        reasons, the motion is DENIED.

                                    BACKGROUND

             HamKim’s complaint alleges, in short, that it owned property in-
        sured by AmGUARD; that said property was damaged by a covered
        wind, hail, and rain storm; and that AmGUARD improperly denied a
        portion of HamKim’s insurance claim for the cost of repairs to the prop-
        erty related to that storm. (See Doc. 21 ¶¶ 5-38.) HamKim brings a
        breach-of-contract claim, a claim for unreasonable delay or denial of




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        payment, and a claim for bad-faith breach of an insurance contract. (Id.
        ¶¶ 39-56.) AmGUARD asserts various defenses, including:

                  8. To the extent that HamKim has failed to satisfy all
               conditions precedent to obtaining coverage, there is no cov-
               erage under the Policy.

                   9. Plaintiff's claims may be barred, in whole or in part,
               to the extent any alleged loss is not covered under any term
               or condition contained in the Policy.

                   10. To the extent Plaintiff may have failed to fully per-
               form all of the obligations under the Policy, or to fully com-
               ply with the terms, conditions, obligations, limitations, ex-
               clusions and endorsements contained in the Policy, Am-
               GUARD’s obligation to Plaintiff, if any at all, may be lim-
               ited or reduced, in whole or in part.

        (Doc. 22 at 8-9.) HamKim moves for a judgment on the pleadings as to
        those affirmative defenses, on the basis that they are insufficiently spe-
        cific. (Doc. 32 at 1, 2.)

                                     DISCUSSION

           Fed. R. Civ. P. 8(c) requires parties to “affirmatively state any avoid-
        ance or affirmative defense.” Rule 8(c) does not require detailed state-
        ments of defenses. “As long as an affirmative defense is raised in the
        trial court in a manner that does not result in unfair surprise, technical
        failure to comply with Rule 8(c) is not fatal,” even if the defense is no
        more than “the bare assertion of a defense without being articulated
        with any rigorous degree of specificity.” Crutcher v. MultiPlan, Inc., 22
        F.4th 756, 766 (8th Cir. 2022).

           When the affirmative defense is the denial of a condition precedent,
        however, Fed. R. Civ. P. 9(c) requires that it be pled “with particularity.”
        “In pleading the performance or occurrence of conditions precedent, it is
        sufficient to aver generally that all conditions precedent have been



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        performed or occurred. A denial of performance or occurrence shall be
        made specifically and with particularity.” Ginsburg v. Ins. Co. of N. Am.,
        427 F.2d 1318, 1322 (6th Cir. 1970). “A party who intends to controvert
        the claimant’s general allegation of performance or occurrence is given
        the burden of identifying those conditions that the denying party be-
        lieves are unfulfilled and wishes to put into issue.” 5A Charles Alan
        Wright & Arthur R. Miller, Federal Practice and Procedure § 1306 (4th
        ed. 2008).

           Two of the challenged defenses, numbers 8 and 10, deny HamKim’s
        performance under the contract. Defense 8 states that “to the extent that
        Plaintiff failed to satisfy all conditions precedent to obtaining coverage,
        there is no coverage under the Policy” and defense 10 states that “to the
        extent Plaintiff may have failed to fully perform all of the obligations
        under the Policy, or to fully comply with the terms, conditions, obliga-
        tions, limitations, exclusions and endorsements contained in the Policy,
        Amguard’s obligation to the Plaintiff . . . may be limited or reduced.”
        (Doc. 22 at 8.) Defense 9, that “Plaintiff’s claims may be barred, in whole
        or in part, to the extent any alleged loss is not covered under any term
        or condition contained in the Policy,” concerns contractual language, as
        opposed to a condition precedent, and therefore is not subject to the
        heightened pleading standard. Id.

           Rule 12(f) offers the ordinary avenue to strike insufficient pleadings.
        Under Ruler 12(f), courts may strike from a pleading an insufficient de-
        fense on its own or “on motion made by a party either before responding
        to the pleading or, if a response is not allowed, within 21 days after being
        served with the pleading.” Defendants filed their answer on July 16,
        2020, and HamKim missed the August 6 deadline to file a 12(f) motion.
        (Doc. 22.) Instead, HamKim proceeds now under both Rule 12(f) and
        Rule 12(c), which provides that “after the pleadings are closed—but


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        early enough not to delay trial—a party may move for judgment on the
        pleadings.”

           HamKim’s motion to strike would have been meritorious if it had
        been filed in time as a Rule 12(f) motion. But it wasn’t. The federal rules
        prevent parties from filing Rule 12(f) motions more than 21 days after
        being served with a pleading to provide stability in the parameters of
        the case. The plaintiff may not move to strike defenses after it has liti-
        gated the case and received the benefit of discovery.

           That is presumably the reason HamKim couched its motion as one
        also for judgment on the pleadings under Rule 12(c). But that too is im-
        proper. Judgment on the pleadings is appropriate where “a court deter-
        mines that there is no material issue of fact presented and that one party
        is clearly entitled to judgment.” Flora v. Home Fed. Sav. and Loan Ass’n,
        685 F.2d 209, 212 (7th Cir. 1982). “If a plaintiff seeks to dispute the legal
        sufficiency of fewer than all of the defenses raised in the defendant’s
        pleading, he should proceed under Rule 12(f) rather than under Ruler
        12(c) because the latter leads to the entry of a judgment.” 5C Charles
        Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1369
        (4th ed. 2008). Here, HamKim seeks to strike three of Defendant’s de-
        fenses, but does not seek entry of judgment, and even if the challenged
        defenses were stricken, would not be entitled to it because they are not
        AmGUARD’s only defenses.

           The parties have managed to conduct discovery and litigate the case
        thus far despite the Answer’s relative lack of specificity. There is no rea-
        son to change course now.




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                                  CONCLUSION

           It is ORDERED that Plaintiff’s Partial Motion for Judgment on the
        Pleadings (Doc. 32) is DENIED.

        DATED: January 18, 2023                 BY THE COURT:



                                                Daniel D. Domenico
                                                United States District Judge




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